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 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:14-CR-00022 JAM
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
     MARCUS A. COOPER,                               )
14
                                                     )
     TIANA E. NAPLES,                                )
15   LETICIA A. ROQUE,                               )
                                                     )
16
            Defendants.                              )
                                                     )
17

18
                                         STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and the

20   defendants, by and through his/her counsel of record, hereby stipulate and request that the Court
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     make the following findings and Order as follows:
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            1.      By previous order, this matter was set for status on January 20, 2015.
23

24
            2.      By this stipulation, the defendants now move to continue the status conference

25   until March 24, 2015 at 9:30 a.m., and to exclude time between January 20, 2015, and March 24,
26
     2015, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The government has represented that the discovery associated with this case
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 2   includes approximately 400 pages of investigative reports and related documents in electronic

 3   form. We have also been advised there is a substantial amount of additional discovery for which
 4
     a protective order was just submitted. We anticipate after said order is signed, all discovery will
 5
     have been either produced directly to counsel and/or made available for inspection and copying.
 6

 7
            b.      Counsel for each defendant desires additional time to obtain and review the new

 8   discovery which will be provided after the protective order is signed, confer with his/her client to
 9   discuss the status of the case, conduct investigation and review the sentencing guidelines.
10
            c.      Counsel for each defendant believes that failure to grant the above-requested
11
     continuance would deny him/her the reasonable time necessary for effective preparation, taking
12

13   into account the exercise of due diligence.

14          d.      The government does not object to the continuance.
15
            e.      Based on the above-stated findings, the ends of justice served by continuing the
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     case as requested outweigh the interest of the public and the defendant in a trial within the
17
     original date prescribed by the Speedy Trial Act.
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19          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20   et seq., within which trial must commence, the time period of January 20, 2015 to March 24,
21
     2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
22
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
23
     of the Court's finding that the ends of justice served by taking such action outweigh the best
24

25   interest of the public and the defendant in a speedy trial.

26                  4.      Nothing in this stipulation and order shall preclude a finding that other
27
     provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
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                                                       2
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     period within which a trial must commence.
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 2

 3   IT IS SO STIPULATED.
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     Dated: January 16, 2015                                  U.S. ATTORNEY
 5
                                                        by:   /s/ Matthew Morris
 6                                                            MATTHEW MORRIS
 7
                                                              Assistant U.S. Attorney
                                                              Attorney for Plaintiff
 8

 9   Dated: January 16, 2015                                  /s/ Tasha Paris Chalfant
10
                                                              TASHA PARIS CHALFANT
                                                              Attorney for Defendant
11                                                            LETICIA A. ROQUE
12

13   Dated: January 16, 2015                                  /s/ Ben D. Galloway
                                                              BEN D. GALLOWAY
14                                                            Attorney for Defendant
                                                              TIANA E. NAPLES
15

16
     Dated: January 16, 2015                                  /s/ Candice L. Fields
17                                                            CANDICE L. FIELDS
                                                              Attorney for Defendant
18
                                                              MARCUS A. COOPER
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20
                                             ORDER
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     IT IS SO FOUND AND ORDERED this 16th day of January, 2015
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26                                                /s/ John A. Mendez_______________________
                                                  HON. JOHN A. MENDEZ
27
                                                  UNITED STATES DISTRICT COURT JUDGE
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